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                                      EXHIBIT 1

                      IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                            ALLENTOWN, PENNSYLVANIA

MARCIA DAY DONDIEGO, et al.,                              :
                                                          :
                                      Plaintiffs,         :
                                                          :
       v.                                                 : DOCKET NO: 5;22-CV-02111
                                                          :
LEHIGH COUNTY BOARD OF                                    :
ELECTIONS, et al.,                                        :
                                                         :
                                         Defendants,     :
JARRETT COLEMAN, REPUBLICAN                               :
CANDIDATE FOR 16TH STATE SENATE                           :
DISTRICT.                                                 :
                                           Intervenor     :


JARRETT COLEMAN’S ANSWER TO COMPLAINT FOR DECLARATORY RELIEF
              AND EMERGENCY INJUNCTIVE RELIEF


Defendant Intervenor Jarrett Coleman, by and through his counsel, Lawrence M. Otter, Esquire,

hereby answers the Complaint and says:



                                          I.        INTRODUCTION




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1. Admitted in part and denied in part. It is admitted the Lehigh and Northampton County

   Boards of Elections are poised to certify the results of the May 17 ,2022 Primary

   Election. The remainder of the factual averments are denied. Strict proof is demanded at

   time of trial.

2. Denied. Paragraph 2 contains legal conclusions to which no responsive pleading is

   required. Any factual allegations are specifically denied. Strict proof is demanded at

   time of trial.

3. Denied. Paragraph 3 contains legal conclusions to which no responsive pleading is

   required. Any factual allegations are specifically denied. Strict proof is demanded at

   time of trial.

4. Denied. Paragraph 4 contains legal conclusions to which no responsive pleading is

   required. Any factual allegations are specifically denied. Strict proof is demanded at

   time of trial.

5. Denied. Paragraph 5 contains legal conclusions to which no responsive pleading is

   required. Any factual allegations are specifically denied. Strict proof is demanded at

   time of trial.

                         II. JURISDICTION AND VENUE

6-9. Admitted.

                                        III. PARTIES

10. Denied. Paragraph 10 contains legal conclusions to which no responsive pleading is

   required. Any factual allegations are specifically denied. Strict proof is demanded at




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time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

11. Denied. Paragraph 11 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

12. Denied. Paragraph 12 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

13. Denied. Paragraph 13 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

14. Admitted.

15. Admitted.


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16. Admitted.

                                       IV. FACTS

17. Denied. Paragraph 17 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

18. Denied. Paragraph 18 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

19. Denied. Paragraph 19contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, Plaintiffs herein, as alleged registered

Democrats, herein lack standing to challenge a Republican candidate in another Senate

District.

20. Admitted.

21. Admitted.

22. Admitted.

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23. Admitted.

24. Admitted.

25. Denied. Paragraph 25 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

26. Admitted.

27. Admitted.

28. Admitted

29. Admitted.

30. Denied. Paragraph 30 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

31. Denied. Paragraph 31 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

32. Denied. Paragraph 32 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.



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33. Denied. Paragraph 33 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

34. Denied. Paragraph 34 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

35. Denied. Paragraph 35 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

36. Denied. Paragraph 36 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

37. Denied. Paragraph 37 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

38. Denied. Paragraph 38 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.



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                                      V. CLAIMS

                   COUNT I. LACK OF SECRECY ENVELOPES

39. Defendant Intervenor incorporates all preceding paragraphs in his Answer as if

stated herein.

40. Denied. Paragraph 40 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

41. Denied. Paragraph 41 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

42. Denied. Paragraph 42 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

43. Denied. Paragraph 38 contains legal conclusions to which no responsive pleading is


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required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

44. Denied. Paragraph 44 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.




45. Denied. Paragraph 45 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

46. Denied. Paragraph 46 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.


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47. Denied. Paragraph 47 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

48. Denied. Paragraph 48 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

49. Denied. Paragraph 49 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

50. Denied. Paragraph 50 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.


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                                       COUNT II.

                         LACK OF SECRECY ENVELOPES

51. Defendant Intervenor incorporates all preceding paragraphs in his Answer as if stated

herein.

52. Denied. Paragraph 52 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

53. Denied. Paragraph 53 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

54. Denied. Paragraph 54 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at




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time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

55. Denied. Paragraph 50 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

56. Denied. Paragraph 56 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

                  COUNT III. LACK OF SECRECY ENVELOPES

57. Defendant Intervenor incorporates all preceding paragraphs in his Answer as if stated

herein.

58. Denied. Paragraph 56 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at




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time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

59. Denied. Paragraph 59 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

60. Denied. Paragraph 60 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

61. Denied. Paragraph 61 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

62. Denied. Paragraph 62 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at


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time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

63. Denied. Paragraph 56 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

64. Denied. Paragraph 64 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial. By way of further Answer, the Pennsylvania Constitution requires “that

secrecy in voting be preserved.” (Emphasis added). Pennsylvania Constitution,

Art. VII, § 4.

                                      COUNT IV

                   TIMELY MAILED; UNTIMELY RECEIVED

65. Defendant Intervenor incorporates all preceding paragraphs in his Answer as if stated

herein.

66. Denied. Paragraph 66 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.


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67. Denied. Paragraph 67 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

68. Denied. Paragraph 68 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

69. Denied. Paragraph 69 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

70. Denied. Paragraph 70 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

71 Denied. Paragraph 71 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial

72. Denied. Paragraph 72 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial



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73. Denied. Paragraph 73 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial

74. Denied. Paragraph 74 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

                                       COUNT V

                   TIMELY MAILED; UNTIMELY RECEIVED

75. Defendant Intervenor incorporates all preceding paragraphs in his Answer as if stated

herein.

76. Denied. Paragraph 76 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial

77. Denied. Paragraph 77 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

78. Denied. Paragraph 78 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial
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79. Denied. Paragraph 79 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

80. Denied. Paragraph 80 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

81. Denied. Paragraph 81 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial

82. Denied. Paragraph 82 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial

83. Denied. Paragraph 83 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial

84. Denied. Paragraph 84 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.



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85. Denied. Paragraph 85 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

86. Denied. Paragraph 86 contains legal conclusions to which no responsive pleading is

required. Any factual allegations are specifically denied. Strict proof is demanded at

time of trial.

                                PRAYER FOR RELIEF

WHERFORE, Jarrett Coleman, Intervenor Defendant, respectfully requests that this

Honorable Court enter Judgment in favor of the Defendants and Intervenor Defendants

and against such other and further relief as the Honorable Court deems necessary and

appropriate.

                             AFFIRMATIVE DEFENSES

        Without assuming the burden of proof , and while reserving the right to assert all

applicable affirmative defenses supported in law and fact, Jarrett Coleman, Defendant

Intervenor asserts the following affirmative defenses:

1. Democratic Party Plaintiffs lack standing to challenge the results of the 16th State

    Senate District Republican Primary of May 17, 2022.

2. The Pennsylvania Constitution states unequivocally that: “All elections by ballot or

    such other method as may be prescribed by law: Provided, That secrecy in voting

    be preserved.” (Emphasis added). Pennsylvania Constitution, Art. VII, §4.

3. Plaintiffs’ claims are time barred by the applicable statutes of limitations.

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4. Plaintiffs’ claims are barred by the equitable doctrines of laches, unclean hands,

     estoppel and waiver.

5.   Plaintiffs’ claims are barred by the doctrine of laches as they filed their complaint on

     May 31, 2022, two weeks after the Primary election of May 17, 2022.

6. Plaintiffs claims if successful will unleash chaos upon the citizens of the

     Commonwealth of Pennsylvania as elections cannot be certified in a timely fashion.

7. Defendant Intervenor adopts and incorporates any and all defenses asserted by other

     defendants in this matter.



                                   PRAYER FOR RELIEF

WHERFORE, Jarrett Coleman, Intervenor Defendant, respectfully requests that this

Honorable Court enter Judgment in favor of the Defendants and Intervenor Defendants

and against such other and further relief as the Honorable Court deems necessary and

appropriate.




                                               Respectfully submitted,

                                               /s/ Lawrence M. Otter
                                               __________________________
DATE: June 7, 2022                             LAWRENCE M. OTTER, ESQUIRE
                                               ATTORNEY FOR DEFENDANT
                                               INTERVENOR, JARRETT COLEMAN
                                               PA ATTORNEY ID 31383
                                               PO Box 575
                                               SILVERDALE, PA 18901
                                               267-261-2984
                                               Email: larryotter@hotmail.com

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